                                 FILE UNDER SEAL                        FILED: 1/29/21
                                                                    U.S. DISTRICT COURT
                      UNITED STATES DISTRICT COURT                EASTERN DISTRICT COURT
                                                                  DAVID A. O'TOOLE, CLERK
                         EASTERN DISTRICT OF TEXAS

 UNITED STATES OF AMERICA EX REL. LIFE                     NO.:     4:21CV88
 LEGAL DEFENSE FOUNDATION,
                                                           COMPLAINT FOR
             Relator/Plaintiff                             VIOLATION OF THE FALSE
                                                           CLAIMS ACT [31 U.S.C. §3729
             v.                                            et seq.]

 ASD SPECIALTY HEALTHCARE, LLC,                            FILE IN CAMERA AND
 AMERISOURCEBERGEN CORPORATION and                         UNDER SEAL [31 U.S.C.
 DANCO LABORATORIES, LLC                                   §3730(b)(2)]

             Defendants.                                   DO NOT ENTER ON PACER
                                                           DEMAND FOR JURY TRIAL



        Relator/Plaintiff Life Legal Defense Foundation (“Relator/Plaintiff”), on behalf of

the United States of America (“Government”) alleges based upon personal knowledge,

relevant documents, and information and belief, as follows:

1. This is a “reverse false claims” action to recover damages and civil penalties on behalf

   of the Government arising from the practice of Defendant Danco Laboratories, LLC, in

   conspiracy with ASD Specialty Healthcare, LLC, a subsidiary of Amerisource Bergen,

   of failing to properly mark imported drugs, failing to pay customs duties on such

   unmarked imports, and knowingly falsifying customs documents in order to conceal its

   obligation to pay those duties.

                                          PARTIES

2. Relator/Plaintiff Life Legal Defense Foundation is a not-for-profit corporation with

   headquarters in Napa, California.

3. Defendant ASD Specialty Healthcare, LLC (“ASD Healthcare”), a subsidiary of

   AmerisourceBergen, is a specialty pharmaceutical distributor for health care systems.

   Until it was acquired by AmerisourceBergen in 2018, ASD Healthcare was known as
   HD Smith. ASD Healthcare’s main headquarters is in Denton County, Texas.

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4. Defendant AmerisourceBergen Corporation is a drug wholesale company with

   headquarters in Chesterbrook, Pennsylvania.

5. Defendant Danco Laboratories, LLC, (“Danco”) is a limited liability company, with

   headquarters in New York City, New York.

                               JURISDICTION AND VENUE

6. The Court has subject matter over this action pursuant to 28 U.S.C. §1331 and 18 U.S.C.

   §§ 3730(b), 3732.

7. This court has personal jurisdiction over Defendant Danco and ASD Specialty

   Healthcare by virtue of both regularly transacting business within this District.

8. Venue is proper in the Eastern District of Texas because the main office of ASD

   Specialty Healthcare is located at 5025 Plano Parkway, Carrollton, Denton County,

   Texas.

                                     THE TARIFF ACT

9. All goods, including pharmaceuticals, imported into the United States must be “entered”

   unless specifically exempted. “Entry” means, among other things, that an importer or

   its agent must file appropriate document with an officer of the United States Customs

   and Border Protection (“CBP”) that allows CBP to assess the customs duties on the

   goods being imported into the United States.
10. Under the Tariff Act, 19 U.S.C. §1304(i), goods that are not properly marked with their

   country of origin are subject to a special category of customs duties, referred to as

   “marking duties,” which are assessed at “10 per centum ad valorem” and “shall be

   deemed to have accrued at the time of importation, shall not be construed to be penal,

   and shall not be remitted wholly or in part nor shall payment therefor be avoidable for

   any cause.” An importer is liable for these duties.

11. CBP is charged with monitoring and enforcing U.S. trade laws and customs regulations

   regarding the importation of foreign goods, CBP collects customs duties, including


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   marking duties, and under certain circumstances can require unmarked or mismarked

   goods, if detected, to be properly marked, destroyed, or re-exported.

12. On or about the time of importation, an importer is required to file certain “entry

   documents” with CBP, which enable CBP to “properly assess duties on the

   merchandise” and “determine whether any other applicable requirement of law . . . is

   met.” 19 U.S.C. §1484(a)(1)(B).

13. Such entry documents typically include an entry summary, such as CBP Forum 7501 or

   its electronic equivalent, which requires an importer to describe, inter alia, the country

   of origin, the value of the merchandise, the tariff classification, and the importer’s

   estimate of the correct amount of duties, fees, and other charges and exactions. With

   respect to marking duties, Form 7501 specifically requires importers to record “any

   other fee, charge, or exaction that applies,” any “estimated duty . . . and any other fees

   or charges,” owed to the Government, and the “total estimated AD/CVD or other fees

   or exactions paid.”

14. In addition to filing entry documents, importers must also deposit estimated duties, fees,

   charges, and exactions owed with CBP on or about the time of importation. 19 U.S.C.

   §1505(a), 19 C.F.R. §141.03. The amount of duties deposited represented only the

   importer’s estimate of how much money it owes, but because entries often automatically
   “liquidate” by statute at the duty rate estimated by the importer, any false information

   or omissions in entry documents will directly cause marking duties not to be paid. See

   19 U.S.C, §1504(a), 19 C.F.R. §159.11.

                                      THE VIOLATIONS

15. Since at least 2002, Danco has imported the drug Mifeprex from China. Danco was

   founded specifically for the purpose of importing Mifeprex from overseas, in order to

   limit in a country and with one or more manufacturers who would not be susceptible to

   boycott.


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16. Mifeprex is comprised of a single active ingredient, mifepristone. All Mifeprex has been

   manufactured with mifepristone obtained from a manufacturer outside the United

   States, most often in China.

17. One or more manufacturing facilities in China manufacture Mifeprex pills and package

   them into blister packs, which themselves are packaged into cartons.

18. Each year, Danco imports hundreds of thousands of cartons of Mifreprex from China.

19. ASD Healthcare buys Mifeprex from Danco. ASD Healthcare then sells and ships

   Mifreprex to health care providers, including clinics and individual doctors across the

   country.

20. Since at least 2002, Danco has failed to label Mifeprex boxes to indicate the country of

   origin. Danco has also failed to pay marking duties on Mifreprex, as required by 19

   U.S.C. §1304(i).


                                       COUNT ONE
              (Violation of 31 U.S.C. §3729(a) – Avoiding Obligation to Pay)
21. Relator/Plaintiff incorporates by reference each of the preceding paragraphs.

22. Danco knowingly made, used, or cause to be made or used, false records and statements

   material to an obligation to pay or transmit money or property to the United States

   Government.

23. These false records and statements included, but may not be limited to, entry documents

   and representations included therein filed by Danco or its agents on or about the time of

   importation of the pharmaceuticals from China, the posting of duties owed, and the

   unmarked packages of pharmaceuticals themselves.

24. Danco knowingly concealed an obligation to pay or transmit money or property to the

   United States Government by failing to pay the marking duties it owed, submitting false

   records or statements in connection with the same, and otherwise obscuring the country
   of origin of its pharmaceuticals.


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25. Danco knowingly and improperly avoided or decreased an obligation to transmit money

   or property to the United States Government by failing to pay the marking duties it owed

   and submitting false records or statements in connection with the same.

26. ASD Healthcare and AmerisourceBergen agreed with Danco to use false records and

   statements in order to conceal Danco’s obligation to pay the marking duties it owed.

27. As a result of Danco’s, ASD Healthcares’s, and AmerisourceBergen’s conduct,

   including these false records or statements, the United States Government incurred

   damages, including the amount the amount of marking duties that Danco owes but has

   not paid.

                              PRAYER FOR RELIEF

        WHEREFORE, Relator/Plaintiff prays for the following relief:

        A) A permanent injunction requiring Defendants to cease and desist from violating

the federal False Claims Act;

        B) Judgment against Defendants in an amount equal to three times the amount of

damages the United States has sustained as a result of Defendants’ unlawful conduct;

        C) Civil monetary penalties for each false record or statement made, used, or

caused to be made or used by Defendants that was material to any obligation to pay or

transmit money or property to the United States Government and/or for each instance of
Defendants knowingly concealing or knowingly and improperly avoiding or decreasing

any obligation to pay or transmit money or property to the United States Government;

        D) An award to Relator/Plaintiff pursuant to 31 U.S.C. 3730(d);

        E) And award of reasonable attorney’s fees, costs, and expenses,

        F) Such other and further relief as this Court should find just and proper.

                                   JURY DEMAND

        Relator/Plaintiff hereby requests a jury trial in this action on all issues triable by

jury.
Dated: January 29, 2021

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        Respectfully submitted,

  By:    /s/ Katherine Seiler
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        Houston, TX 77265
        (832) 258-2122
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        ATTORNEY FOR RELATOR/PLAINTIFF




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                                     Certificate of Service

        The undersigned counsel certifies that a Motion to File under Seal has been filed with the
Court (via email to newcaseshm@txed.uscourts.gov as per the clerk’s instructions) immediately
prior to the filing of this Complaint (to the same aforementioned email address as per the clerk’s
instructions) and that the following are being sent a copy of this Complaint on this the 29th day of
January, 2021 via U.S. Mail:

            The United States Attorney’s Office
            For the Eastern District of Texas
            Attn: Maureen Smith
            600 East Taylor Street, Suite 2000
            Sherman, Texas 75090

            Attorney General of the United States
            U.S. Department of Justice
            950 Pennsylvania Avenue, NW
            Washington, DC 20530-0001
                                                       _/s/ Katherine Seiler___________




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